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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION



 LE-VEL BRANDS, LLC,
                                                                 CIVIL ACTION NO. 4:20-cv-398
          Plaintiff,
                                                                 COMPLAINT FOR TRADEMARK
 v.                                                              INFRINGEMENT AND UNFAIR
                                                                 COMPETITION
 DMS NATURAL HEALTH, LLC
                                                                 DEMAND FOR JURY TRIAL
          Defendant.



                                            COMPLAINT

          Plaintiff Le-Vel Brands, LLC (“Le-Vel”) by its undersigned attorneys, alleges as follows,

upon actual knowledge with respect to itself and its own acts, and upon information and belief as

to all other matters.

                                     NATURE OF THE ACTION

          1.       This is an action for trademark infringement, unfair competition, and

cybersquatting under federal, state, and/or common law. Le-Vel brings this action against DMS

Natural Health, LLC (“Defendant”) because Defendant unlawfully offers and sells supplements

under the infringing name and mark JUST THRIVE. Defendant is selling supplement products

under its infringing name notwithstanding Le-Vel’s THRIVE and THRIVE-formative trademark

rights.

          2.       In late October 2019, Defendant notified Le-Vel that the appearance and

presentation of its JUST THRIVE trademark was being changed from the manner depicted in Le-

Vel’s pleadings filed before the Trademark Trial and Appeal Board―the administrative tribunal

of the United States Patent and Trademark Office. Rather than address Le-Vel’s concerns,
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Defendant’s newly adopted appearance and presentation of its mark exacerbated Le-Vel’s

concerns, along with the increasing range of products offered and the associated marketing and

promotion of such products. As such, Defendant’s past and new activities and products are

likely to confuse, deceive, or mislead consumers into believing Defendant and/or its products are

authorized by or affiliated with Le-Vel, and/or that such products are offered, licensed, or

approved by Le-Vel. Le-Vel seeks to enjoin Defendant’s unlawful use of JUST THRIVE and

recover actual damages, Defendant’s profits, and other relief, including attorneys’ fees and costs.

                                         THE PARTIES

       3.      Plaintiff Le-Vel Brands, LLC is a Texas limited liability company with its

principal place of business at 9201 Warren Parkway #200, Frisco, TX 75035.

       4.      Defendant DMS Natural Health, LLC is a Wyoming limited liability company

with its principle place of business at 810 Busse Hwy, Park Ridge, Illinois 60068.

                                JURISDICTION AND VENUE

       5.      This action arises under the federal Trademark Act, 15 U.S.C. §§ 1051, et seq.

and the related laws of the state of Texas. This Court has jurisdiction over the subject matter of

this action pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331, 1338(a) and (b).

       6.      This Court has personal jurisdiction over Defendant, and venue is proper in this

District pursuant to 28 U.S.C. § 1391(b) and (c), because Le-Vel is being harmed in this District

and because Defendant is offering, and has sold, infringing goods into this District.

                  LE-VEL AND ITS THRIVE NAME AND TRADEMARK

       7.      Le-Vel is a lifestyle company that offers dietary and nutritional supplements,

related health and wellness goods, and related coaching/lifestyle/wellness programs,

conventions, and educational materials. Le-Vel formulates its products with premium



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ingredients and high levels of nutrition, giving customers the opportunity to live healthy,

balanced, and premium lifestyles.

       8.      Le-Vel’s flagship product line is sold under the brand THRIVE and various

THRIVE-formative marks, including THRIVE PLUS, THRIVE PREMIUM, THRIVE

EXPERIENCE, RELEASE THE THRIVE, THRIVE PRO, THRIVE K, THRIVEFIT, and

THRIVE BITES, among others (the “THRIVE Marks”). Le-Vel’s THRIVE product line

consists of a wide range of supplements for physical and mental wellness and healthy living,

including supplements formulated specifically for men, women, and children; nutritional shakes,

energy shakes, drink mixes, and gels; nootropics; transdermal supplement products; skincare

products; and protein snacks:




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       9.      Among Le-Vel’s extensive THRIVE product line, Le-Vel offers supplements

containing probiotics, an example of which is depicted below:




       10.     Le-Vel first conceived of, adopted, and began using its distinctive THRIVE

trademark in 2012 and has continuously used THRIVE in connection with dietary and nutritional

supplements in commerce since 2012.

       11.     Since 2012, Le-Vel has continuously expanded its range of THRIVE Marks used

in connection with dietary and nutritional supplements, related health and wellness products, and

related coaching/lifestyle/wellness programs.

       12.     Prior to Defendant’s first use of JUST THRIVE, Le-Vel has used, advertised, and

promoted its THRIVE name and THRIVE Marks in such a manner that the common, distinctive

THRIVE element in the THRIVE Marks is indelibly tied with Le-Vel’s overall corporate

identity, such that Le-Vel is commonly known as “THRIVE” in the marketplace and Le-Vel has

developed a family of THRIVE marks.




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       13.    Le-Vel owns numerous valid and subsisting U.S. trademark registrations and

applications for its THRIVE Marks, some of which include the following:

             Mark                         Goods                    Reg. No.        First-Use
                                                                  Reg. Date          Date
                             Topical patches featuring vitamin, 5772374          08/2012
   THRIVE (and Design)       mineral, plant extract,
                             antioxidant, enzyme, probiotic,    06/11/2019
                             and amino acid preparations used
                             for general health and wellness in
                             Class 5.
                             Nutritional supplements, namely, 5174403            12/2012 for
   THRIVE                    vitamin, mineral, plant extract,                    Classes 5 and
   EXPERIENCE (and           antioxidant, enzyme, probiotic,    04/04/2017       44.
   Deisgn)                   and amino acid preparations and
                             supplements used for general                        10/2013 for
                             health and wellness in Class 5.                     Class 35.

                             Providing online retail store
                             services using account-based user
                             information in the field of
                             nutritional preparations and
                             supplements; providing an
                             incentive award program for
                             consumers that provides for
                             discounted pricing and free
                             product return of nutritional
                             preparations and supplements
                             with purchase in Class 35.

                             A nutritional plan for general
                             health and wellness consisting of
                             consulting advice and
                             recommendations on nutritional
                             supplements and nutritional
                             consulting advice and
                             recommendations on nutritional
                             preparations in Class 44.
   THRIVE BY LE–VEL          Nutritional supplements, namely,     5169444        11/2012
                             vitamin, mineral, plant extract,
                             antioxidant, enzyme, probiotic,      03/28/2017
                             and amino acid preparations used
                             for general health and wellness in
                             Class 5.


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             Mark                          Goods                      Reg. No.          First-Use
                                                                     Reg. Date            Date
   RELEASE THE                Nutritional supplements, namely,     5144648            02/2015
   THRIVE                     vitamin, mineral, plant extract,
                              antioxidant, enzyme, probiotic,      02/21/2017
                              and amino acid preparations used
                              for general health and wellness in
                              Class 5.
   THRIVE PLUS                Dietary and nutritional              56638888           08/01/2014
   BALANCE                    supplements for human
                              consumption in Class 5               01/29/2019

             SALE AND PROMOTION OF LE-VEL’S THRIVE PRODUCTS

       14.    Le-Vel’s THRIVE products are sold through its online store directly to

consumers, who are introduced to the products through Le-Vel’s marketing efforts and a vast

network of authorized independent promoters and affiliates.

       15.    Le-Vel’s THRIVE products have enjoyed substantial success and have been

widely sold and distributed since their introduction in 2012. Le-Vel now has more than eight

million independent Brand Promoters and customers around the world, topped $1 billion in total

sales in May 2017, and surpassed $2 billion in total sales in November 2019.

       16.    Since 2012, Le-Vel has offered and continues to offer thousands of THRIVE

health and wellness educational conventions, seminars, and events nationwide, e.g.:




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       17.     Since 2012, Le-Vel has shared and continues to provide THRIVE health and

wellness articles and videos on its website and official blog, e.g.:




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       18.     Le-Vel also maintains an educational/product experience website for its various

THRIVE products at https://www.thrive-reviews.com.

       19.     Le-Vel and its founders have a tremendous online following, including over three

million Facebook followers. Le-Vel’s promotional videos have been viewed on YouTube over

nine million times.

       20.     Le-Vel has long promoted and displayed its THRIVE Marks in a variety of ways,

including as a standalone brand, as part of THRIVE-formative terms or phrases, and in

connection with other Le-Vel names and marks through Le-Vel’s website, social media, and

product packaging, e.g.:




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       21.     Le-Vel has spent over $28 million in advertising, marketing, and promoting the

THRIVE Marks in connection with its products through a variety of media, promotional and

marketing initiatives, and celebrity endorsements. Some of the celebrity users of Le-Vel’s

products include: (1) Emmitt Smith, the all-time leading rusher in the history of the National

Football League (“NFL”); (2) Andy Roddick, one-time #1 ranked tennis player in the world and

a tennis Hall-of- Famer; (3) Dick and Rick Hoyt of Team Hoyt, the father and son team who

have participated in over 1,000 races to raise awareness for and instill confidence in the

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physically challenged (Rick is a spastic quadriplegic with cerebral palsy, and his father, Dick,

pushes, pulls, and carries him through races such as the Ironman triathlon); (4) Kirk Hammett,

lead guitarist for the band Metallica; (5) Don Mattingly, Major League Baseball Hall-of-Famer;

(6) Amy Purdy, New York Times best-selling author, runner-up in Dancing with the Stars, and

medalist in the 2014 Winter Paralympic Games; (7) Olga Tanon, five-time Grammy-winning

artist; (8) Brian Westbrook, former All-Pro NFL player; (9) Drake White, country music

performing artist; (10) television and movie actor Kevin Sorbo from shows such as Hercules;

(11) Missy Robertson from the Duck Dynasty series; (12) Bernard Pierce, former All-Pro NFL

player; and many others.




       22.     In addition, Le-Vel and the THRIVE Marks have been featured (1) at Times

Square during the New Year’s Eve ball drop and throughout the holiday season, including during

the Macy’s Thanksgiving Day Parade; (2) on billboards throughout the United States during

national billboard campaigns; (3) in football stadiums across the United States during college

and professional football games; (4) in the “Rise and Thrive” marketing campaign, which has

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been viewed by millions of individuals around the globe; (5) in a nationally distributed

magazine, Thrivin’, found in thousands of bookstores throughout the U.S.; (6) in hundreds of

press releases and blogs circulated throughout the world; and (7) in Facebook and YouTube ads

receiving millions of views and interactions.

        23.       Further, the THRIVE Marks have received notable third-party press, attention,

and recognition. In 2016, Le-Vel was featured in USA Today, along with Uber, Etsy, and two

other companies, as the leaders in the “YouEconomy.” In 2019, Le-Vel was again featured in

USA Today as the nutritional movement taking the country by storm. In 2016, Le-Vel received

the Direct Selling News Bravo Growth Award, which recognizes the largest year-over-year

growth in the world in direct sales. In 2015, Le-Vel was featured in the Houston Business

Journal for its substantial and meaningful charitable works and efforts. In 2015 and 2016,

Le-Vel was named to the Direct Selling News Global 100, an exclusive ranking of the top

revenue-generating companies worldwide in the direct selling industry. Le-Vel has also been

featured in Direct Selling News on multiple occasions and has been the cover story twice. In

2013-2017, Le-Vel was featured in Success from Home magazine, the first time that a company

has been featured as the exclusive company in full-length Success from Home issues four years

in a row, e.g.:




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       24.    As a result of extensive use, sales, advertising, promotion, commercial success,

and third-party recognition, the THRIVE Marks are well-known and strong, and consumers

associate the common, distinctive characteristic of the THRIVE Marks—THRIVE—with

Le-Vel.

                       DEFENDANT AND ITS WRONGFUL ACTS

       25.    Defendant DMS Natural Health, LLC offers and sells dietary supplements under

the name and mark JUST THRIVE.




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       26.     On September 2, 2014, Defendant obtained trademark Registration No. 4598351

(the “’351 Registration”) for JUST THRIVE covering “dietary and nutritional supplements,

nutritional supplements containing probiotics, and nutritional supplements, namely, probiotic

compositions.”

       27.     On August 29, 2019, Le-Vel filed a Petition to Cancel the ’351 Registration with

the Trademark Trial and Appeal Board (Cancellation No. 92072043). That proceeding is

currently ongoing.

       28.     Before Le-Vel filed its Petition to Cancel, Defendant used its JUST THRIVE

mark in connection with only probiotics, a prebiotic, and vitamin K-27. Defendant promoted,

offered, and sold these few products through its website http://thriveprobiotic.com/, online, and

through an affiliate program.

       29.     During that time, Defendant used its JUST THRIVE mark on packaging and

promotional materials that materially differed from the packaging and promotional material that

Defendants recently adopted and uses today.

       30.     Defendant previously promoted and marketed its few JUST THRIVE products by

highlighting the word “Probiotic.” “Probiotic” was the focus of Defendants marketing, including

its domain name (https://thriveprobiotic.com), and social media identifiers (Twitter:

https://twitter.com/thriveprobiotic; Facebook: https://www.facebook.com/thriveprobiotic; and

Instagram: https://www.instagram.com/thriveprobiotic/).

       31.     This all changed around the time that Le-Vel filed its Petition to Cancel the ’351

Registration in August 2019. In late October 2019, Defendant notified Le-Vel that the

appearance and presentation of its JUST THRIVE trademark was changing from the manner

previously used and as depicted by Le-Vel in its pleadings. Rather than ameliorate Le-Vel’s



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concerns, the new changes to the appearance and presentation of Defendant’s mark exacerbated

Le-Vel’s concerns.

       32.    Defendant’s current use of its JUST THRIVE mark emphasizes “THRIVE” over

“JUST” by boldly highlighting “THRIVE” in its new advertising and promotional materials and

on packaging. “THRIVE” stands out as the most prominent and dominant part of the mark:




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       33.     In connection with that rebranding, Defendant also appears to have significantly

expanded its product offerings. As Le-Vel has done for many years under its THRIVE Marks,

Defendant now offers a wide array of supplements under its infringing JUST THRIVE mark, as

shown below:




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        34.    Consistent with those expanded product offerings, Defendant has steered away

from its niche marketing focus on “probiotics” and rebranded itself as a health and wellness

company, including through Defendant’s new domain name https://justthrivehealth.com/ and

new social media identifiers, including Facebook (https://www.facebook.com/justthrivehealth/),

Twitter (https://twitter.com/JustThriveHlth), and Instagram (https://www.instagram.com/

justthrivehealth/), all of which now focus on “health” and wellness. Defendant’s old domain

thriveprobiotic.com now simply redirects to Defendant’s new domain justthrivehealth.com.

From its inception, Le-Vel has operated as a health and wellness company and promoted itself as

such.

        35.    Defendant’s rebranding aside, consumers often refer to Defendant’s JUST

THRIVE supplements as THRIVE alone, as depicted below in the screen captures from

Defendant’s website and Facebook:




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               (https://justthrivehealth.com/pages/testimonials-reviews)




                    (https://www.facebook.com/justthrivehealth/)




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        36.    Defendant also runs an affiliate program

(https://justthrivehealth.com/pages/affiliate-program), offering special perks from Defendant and

20% commissions on all JUST THRIVE products sold directly to consumers:




        37.    Defendant refuses to stop use of JUST THRIVE. Defendant refuses to cancel the

’351 Registration. Defendants has knowledge of Le-Vel’s rights and objections. Defendant

continues to use the infringing JUST THRIVE name and mark.

        38.    Given the strong association of THRIVE with Le-Vel, consumers are likely to

confuse Defendant’s JUST THRIVE supplements and/or commercial activities with Le-Vel, the

THRIVE Marks (individually and collectively, as a family), and/or Le-Vel’s commercial

activities.

                          INJURY TO THE PUBLIC AND LE-VEL

        39.    Defendant’s unauthorized past and new uses of the name and mark JUST

THRIVE are likely to cause confusion, mistake, and deception as to the source or origin of

Defendant’s products, and likely to falsely suggest a sponsorship, connection, or association

between Defendant, its products, and/or its commercial activities with Le-Vel and its THRIVE

Marks (individually and collectively, as a family), and commercial activities.




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       40.     Defendant’s unauthorized past and new uses of JUST THRIVE have damaged

and irreparably injured Le-Vel, and, if permitted to continue, will further damage and irreparably

injure Le-Vel, its reputation and goodwill, the THRIVE Marks, and the public’s interest in being

free from confusion.

       41.     Defendant is aware of Le-Vel’s rights and chose to disregard them by continuing

its infringing activities over Le-Vel’s objections. As a result, Defendant has acted knowingly,

willfully, in reckless disregard of Le-Vel’s prior rights, and in bad faith.

                                  FIRST CLAIM FOR RELIEF

                                 Trademark Infringement Under
                       Section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1)

       42.     Le-Vel repeats and realleges each and every allegation set forth above.

       43.     The acts of Defendant constitute infringement of Le-Vel’s registered THRIVE

Marks in violation of 15 U.S.C. § 1114.

       44.     Without Le-Vel’s consent, Defendant has used and continues to use in commerce

reproductions, copies, and colorable imitations of Le-Vel’s registered THRIVE Marks in

connection with the offering, distribution, and advertising of supplements and related products

through common channels of commerce, which are likely to cause confusion, cause mistake, or

deceive, in violation of Section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1).

       45.     Defendant’s acts of trademark infringement are knowing, intentional, and willful

in violation of 15 U.S.C. § 1114.

       46.     As a result of Defendant’s acts of trademark infringement, Le-Vel is suffering

irreparable harm, for which it has no adequate legal remedy.




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       47.     Unless and until Defendant is enjoined by this Court, Defendant will continue to

commit acts of trademark infringement and cause likely consumer confusion and irreparable

harm to Le-Vel.

       48.     Le-Vel is entitled to recover Defendant’s profits, all damages that Le-Vel has

sustained from Defendant’s infringement, prejudgment interest, and the costs of the action

pursuant to 15 U.S.C. § 1117.

       49.     Because Defendant’s conduct is willful, Plaintiff is also entitled to recover treble

damages and reasonable attorneys’ fees pursuant to 15 U.S.C. § 1117.

                                SECOND CLAIM FOR RELIEF

                        Trademark Infringement, False Designation
                   of Origin, Passing Off, and Unfair Competition Under
              Section 43(a)(1)(A) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A)

       50.     Le-Vel repeats and realleges each and every allegation set forth above.

       51.     Defendant’s past and new uses of JUST THRIVE, as described above, are likely

to cause confusion, cause mistake, or deceive as to the origin, sponsorship, or approval of

Defendant, its products, and/or its commercial activities by or with Le-Vel and its THRIVE

Marks (individually and collectively, as a family), and thus constitutes trademark infringement,

false designation of origin, passing off, and unfair competition in violation of Section 43(a) of

the Lanham Act, 15 U.S.C. § 1125(a).

       52.     Defendant’s unauthorized past and new uses of JUST THRIVE are knowing,

intentional, and willful in violation of 15 U.S.C. § 1125.

       53.     As a result of Defendant’s acts, Le-Vel is suffering irreparable harm, for which it

has no adequate legal remedy.




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       54.     Unless and until Defendant is enjoined by this Court, Defendant will continue to

commit infringing acts, and will continue to deceive the public and cause irreparable harm to

Le-Vel.

       55.     Le-Vel is entitled to recover Defendant’s profits, all damages that Le-Vel has

sustained from Defendant’s infringing acts, prejudgment interest, and the costs of the action

pursuant to 15 U.S.C. § 1117.

       56.     Because Defendant’s conduct is willful, Plaintiff is also entitled to recover treble

damages and reasonable attorneys’ fees pursuant to 15 U.S.C. § 1117.

                                THIRD CLAIM FOR RELIEF

       Common-Law Trademark Infringement, Passing Off, and Unfair Competition

       57.     Le-Vel repeats and realleges each and every allegation set forth above.

       58.     The activities described above constitute common-law trademark infringement

and misappropriation of the goodwill associated with Le-Vel’s THRIVE Marks (individually and

collectively, as a family) and constitutes passing off, trademark infringement, and unfair

competition in violation of Texas common law.

       59.     By making unauthorized past and new uses of JUST THRIVE, Defendant is

committing trademark infringement in violation of Texas common law and other applicable

common law.

       60.     Defendant’s unauthorized past and new uses of JUST THRIVE are knowing,

intentional, and willful.

       61.     As a result of Defendant’s acts of trademark infringement, Le-Vel is suffering

irreparable harm, for which it has no adequate legal remedy.




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         62.    Unless and until Defendant is enjoined by this Court, Defendant will continue to

commit acts of trademark infringement, and will continue to cause likely consumer confusion

and irreparable harm to Le-Vel.

         63.    Le-Vel is entitled to recover Defendant’s profits, all damages that Le-Vel has

sustained from Defendant’s infringement and unfair competition, and the costs of the action,

including attorneys’ fees.

                                FOURTH CLAIM FOR RELIEF

                                 Cybersquatting Under Section
                          43(d) of the Lanham Act, 15 U.S.C. § 1125(d)
         64.    Le-Vel repeats and realleges each and every allegation set forth above.

         65.    Defendant caused to be registered, and/or used the thriveprobiotic.com and

justthrivehealth.com domain names with a bad-faith intent to profit from Le-Vel’s THRIVE

Marks.

         66.    Le-Vel’s THRIVE Marks were distinctive at the time Defendant caused to be

registered, registered, and/or used the thriveprobiotic.com and justthrivehealth.com domain

names, which, upon information and belief, occurred in or around May 2013 and November

2018, respectively.

         67.    The thriveprobiotic.com and justthrivehealth.com domain names are confusingly

similar to Le-Vel’s THRIVE Marks.

         68.    Defendant’s action, as described above, violate Section 43(d) of the Lanham Act,

15 U.S.C. § 1125(d).

                                  DEMAND FOR JURY TRIAL

         Pursuant to Fed. R. Civ. P. 38, Le-Vel respectfully demands a trial by jury on all issues

properly triable before a jury in this action.


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                                     PRAYER FOR RELIEF

       WHEREFORE, Le-Vel requests that this Court enter judgment in its favor on each and

every claim for relief set forth above and award it relief including, but not limited to, the

following:

       A.      A finding that Defendant (i) has infringed Le-Vel’s registered trademark in

violation of 15 U.S.C. § 1114; (ii) has violated Section 43(a) of the Lanham Act (15 U.S.C.

§ 1125(a)); (iii) has infringed Le-Vel’s trademarks under the common law of the State of Texas;

and (iv) has violated Section 43(d) of the Lanham Act (15 U.S.C. § 1125(d).

       B.      An Order declaring that Defendant’s use of JUST THRIVE for supplements

infringes Le-Vel’s rights in its THRIVE Marks (individually and collectively, as a family) and

constitutes trademark infringement, unfair competition, and passing off under federal and/or state

law, as detailed above.

       C.      An Order enjoining Defendant and its employees, agents, partners, officers,

directors, owners, shareholders, principals, subsidiaries, related companies, affiliates,

distributors, dealers, and all persons in active concert or participation with any of them:

                   1. From using, registering, or seeking to use or register JUST THRIVE,

                       THRIVE, and/or any other marks, logos, or designs that are confusingly or

                       substantially similar to Le-Vel’s THRIVE Marks for supplements and

                       related products and services; and

                   2. From representing by any means whatsoever, directly or indirectly, that

                       any products offered by Defendant, or any activities undertaken by

                       Defendant, are associated or connected in any way with Le-Vel or

                       sponsored or authorized by or affiliated with Le-Vel.



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       D.      An Order directing Defendant to, within thirty (30) days after the entry of the

injunction, file with this Court and serve on Le-Vel’s attorneys a report in writing and under oath

setting forth in detail the manner and form in which Defendant has complied with the injunction.

       E.      An Order directing Defendant to immediately destroy all products,

advertisements, promotional materials, stationery, forms, and/or any other materials and things

that contain or bear JUST THRIVE, THRIVE, and/or any other marks, logos, or designs that are

confusingly or substantially similar to Le-Vel’s THRIVE Marks for supplements and related

products and services.

       F.      An Order requiring Defendant to account for and pay to Le-Vel any and all profits

arising from the foregoing acts in accordance with 15 U.S.C. § 1117 and other applicable laws.

       G.      An Order requiring Defendant to pay Le-Vel damages in an amount as yet

undetermined caused by the foregoing acts and trebling such damages in accordance with 15

U.S.C. § 1117 and other applicable laws.

       H.      An Order requiring Defendant to pay Le-Vel punitive, exemplary, and/or statutory

damages as allowed by law in an amount to be determined due to the foregoing willful acts of

Defendant.

       I.      An Order requiring Defendant to pay Le-Vel its costs and attorneys’ fees in this

action pursuant to 15 U.S.C. § 1117 and other applicable laws.

       J.      An Order awarding Le-Vel pre-judgment and post-judgment interest on any

monetary award made part of the judgment against Defendant.

       K.      Other relief as the Court may deem just and appropriate.




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Dated: May 13, 2020       Respectfully submitted,


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